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Attorneys for Minerva Office Management, Inc. and

Robert L. Leberman

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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

KPG INVESTMENTS INC., a Nevada
corporation; KENDALLE GETTY, an individual,

Plaintiffs,
V.

MARLENA SONN, an individual; AND DOES
1-20,

Defendant.

 

MARLENA SONN,

Plaintiff,
v.

KENDALLE P. GETTY, as Trustee of the
Pleiades Trust and as an individual, KPG
INVESTMENTS, INC., as Trustee of the
Pleiades Trustt ALEXANDRA SARAH
GETTY, as Trustee of the Pleiades Trust and as
an individual, ASG INVESTMENTS, INC., as
Trustee of the Pleiades Trust, MINERVA
OFFICE MANAGEMENT, INC., = and
ROBERT L. LEBERMAN,

Defendants.

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Case No.:
3:22-cv-00236-ART-CLB

Consolidated with:
3:22-cv-00323-ART-CLB

MOTION TO VACATE
SETTLEMENT CONFERENCE

 
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Defendants MINERVA OFFICE MANAGEMENT, INC. (‘Minerva’), and ROBERT L.
LEBERMAN (“Leberman”), by and through their counsel of record, Mark H. Gunderson, Esq. and
Austin K. Sweet, Esq., move to vacate the settlement conference currently scheduled to occur on
November 16, 2022 and order the parties to either: (1) cooperate in good faith to reschedule the
settlement conference at the earliest date that is mutually convenient for all parties and either
Magistrate Judge McQuaid or any another Magistrate Judge whose schedule may be more aligned
with the parties’ availability; or (2) participate in a private mediation, with all parties to equally share
the costs. This Motion is made and based upon the following memorandum of points and authorities,
the attached exhibits, and any oral argument this Court wishes to entertain.

MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION

All parties to this consolidated action agreed to participate in an early settlement conference.
The settlement conference was originally scheduled to proceed on September 6, 2022, but was
subsequently vacated and rescheduled to November 16, 2022. Plaintiff Marlena Sonn then
unequivocally notified the Court and all parties that she was not available on November 16, 2022.
The parties therefore spent substantial time and energy trying to accommodate Ms. Sonn’s schedule
by finding an alternative option for the settlement conference, including alternate dates, requesting
assignment to a different Magistrate Judge whose calendar might align better with the parties’
calendars, or engaging in private mediation. Meanwhile, given Ms. Sonn’s unequivocal statements
that she was unavailable on November 16, 2022, Mr. Leberman scheduled an international business
trip over November 16, 2022.

In the midst of their efforts to reschedule the settlement conference, Ms. Sonn informed the
parties that her calendar had changed and that she was now available on November 16, 2022.
Unfortunately, that date was no longer available for Minerva or Leberman. Nonetheless, Ms. Sonn
informed the parties that, since she was now available on November 16, 2022, she would no longer
engage in good faith efforts to reschedule the settlement conference. As a result, Minerva and

Leberman are forced to file this Motion.

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Minerva and Leberman are not available to participate in a settlement conference on
November 16, 2022. Minerva and Leberman therefore request that voluntary settlement conference
be vacated and the parties be ordered to either: (1) cooperate in good faith to reschedule the settlement
conference at the earliest date that is mutually convenient for all parties and either Magistrate Judge
McQuaid or any another Magistrate Judge whose schedule may be more aligned with the parties’
availability; or (2) participate in a private mediation, with all parties to equally share the costs.

II. RELEVANT FACTUAL HISTORY

Litigation was initiated in this action on March 17, 2022, in KPG Investments, Inc. and
Kendalle Getty v. Marlena Sonn, Case No. CV22-00444 filed in the Second Judicial District Court
of the State of Nevada. Doc. # 16. On May 11, 2022, Marlena Sonn filed Marlena Sonn v. Kendalle
P. Gett, et al., Case No. 2:22-cv-01137-APG-BNW in the United State District Court for the Eastern
District of New York. Id. Ultimately, the parties stipulated to consolidate these lawsuits into the
District of Nevada, to participate in a settlement conference, and to stay all proceedings pending the
resolution of that settlement conference. Doc. # 13.

Between August 2, 2022, and August 5, 2022, the parties diligently coordinated with the Court
to find a mutually acceptable date for the settlement conference. See August 2022 email chain,
attached as Exhibit “1.” The parties ultimately agreed to hold the settlement conference on September
6, 2022. On August 5, 2022, this Court entered an Order Scheduling Virtual Settlement Conference.
Doc. # 19. Magistrate Judge Carla Baldwin was set to preside over the settlement conference. Id.

On August 9, 2022, the Court entered a minute order vacating the settlement conference set
for September 6, 2022, before Magistrate Judge Carla Baldwin and informing the parties that counsel
will be contacted by the Court to reschedule the settlement conference before Magistrate Judge
McQuaid. Doc. # 20.

On August 15, 2022, the Court informed all parties via email that Magistrate Judge McQuaid
was available on September 6, 2022, so the settlement conference would still proceed as scheduled.
See August 15 email, attached as Exhibit “2.”

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On August 16, 2022, this Court entered an Order Setting Settlement Conference, formally
setting Magistrate Judge McQuaid to preside over the settlement conference on September 6, 2022.
Doc. #21.

On August 19, 2022, counsel for Kendalle Getty and KPG Investments, Inc., informed the
parties and the Court that, when the prior settlement conference was vacated, that date was rebooked
and Kendalle Getty, KPG Investments, Inc., and their counsel were no longer available to conduct
the settlement conference on September 6, 2022. See August 2022 email chain, attached as Exhibit
“3.” The Court responded by providing several other dates in September in which Magistrate Judge
McQuaid was available for the settlement conference. Id. Between August 19, 2022, and August 30,
2022, the parties and the Court exchanged a series of emails attempting to find a mutually acceptable
date to conduct the settlement conference. Id.

On August 30, 2022, the Court informed the parties that it would reschedule the settlement
conference before Magistrate Judge McQuaid for Wednesday, November 16, 2022. Id. Agatha Cole,
counsel for Marlena Sonn, responded to the Court’s email with a question about the electronic court
filing system, but gave no indication that she or her client were not available on November 16, 2022.
Id. This Court subsequently entered a minute order formally vacating the September 6, 2022,
settlement conference and rescheduling the settlement conference for November 16, 2022. Doc. #
23.

On September 1, 2022, Ms. Cole emailed the Court and explained that she and Ms. Sonn were
not available on November 16, 2022, for the settlement conference. See September 1 email, attached
as Exhibit “4.”

The parties then began discussing alternative options for conducting the settlement
conference. Counsel for the parties began by trying to schedule a conference call to discuss available
dates. See Emails from September 1 and 2, attached as Exhibit “5.” Ms. Cole responded that she did
not believe a phone call would be necessary because her client “is available any day in November
except for 11/16 and 11/17.” Id.

The parties then attempted to circulate available dates via email. See Email chain attached as

Exhibit “6.” Ms. Cole again responded by stating “Ms. Sonn and her counsel are fully available on

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literally any day in November except for 11/16 and 11/17. Those are the only two dates that we
would not be able to attend.” Jd (emphasis in original).

The parties’ efforts continued into the following week. On September 6, 2022, counsel
circulated a table of all the dates in November that the parties had indicated they were available,
which plainly showed that there were no dates on which all parties and Magistrate Judge McQuaid
were available in November 2022. See September email chain, attached as Exhibit “7.” At that point,
the parties began discussing the possibility of scheduling the mediation after November 2022,

requesting the availability of another magistrate judge to conduct the settlement conference, or

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considering private mediation. Id. The parties continued exploring available dates or private

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mediation for several more days. Id.

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At no point did Ms. Cole indicate that November 16 might become available or that they were

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attempting to rearrange their schedules to make November 16 available. Id. Minerva and Leberman

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therefore understood that the settlement conference would be rescheduled, that November 16 was not

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a date that needed to be held open, and that Mr. Leberman could freely schedule other matters for

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that date. See Declaration of Robert Leberman, attached as Exhibit “8.” Accordingly, while the

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parties continued to work toward rescheduling the settlement conference, Mr. Leberman confirmed a

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pending international business meeting on November 16, 2022. Id.

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On Sunday, September 11, 2022, Ms. Sonn’s counsel unexpectedly informed the parties that

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their “calendar has changed” and that they were now available on November 16, 2022. See

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September 11, 2022, email, attached as Exhibit “9.” Unfortunately, by this point, given Ms. Cole’s

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clear and repeated statements that she was unavailable on November 16, 2022, Mr. Leberman

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confirmed a pending international business meeting that day that cannot now be moved. See Exhibit

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“9.” Counsel for Minerva and Leberman promptly informed the parties that November 16 was no

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longer available on their calendar. See Gunderson email on September 11, 2022, attached as Exhibit

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On September 14, 2022, Minerva and Leberman’s counsel informed the Court that November
27|| 16, 2022, was no longer available for Minerva or Leberman. See Gunderson email dated September

28}| 14, 2022, attached as Exhibit “11.”

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On September 20, 2022, Minerva and Leberman’s counsel followed up with the parties on the
ongoing efforts to set the settlement conference. See Gunderson email dated September 20, 2022,
attached as Exhibit “12.” Mr. Gunderson suggested seeking assignment to a different Magistrate
Judge or holding a private mediation. Id. On September 22, 2022, Ms. Sonn’s counsel responded as
follows: “The mediation is scheduled for Nov. 16, and seeing that your clients could not agree on any
other alternate date, we were forced to rearrange our schedules to accommodate the Nov. 16 date. I
suggest you do the same.” Id.

Ms. Cole then asked the Court to unilaterally pick a date and mandate all parties’ attendance.

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See September 22, 2022, email chain, attached as Exhibit “13.” Mr. Gunderson responded that

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Minerva and Leberman could not agree to such a process and requested that this matter either be

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referred to another Magistrate Judge whose calendar might better align with the parties’ availability

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or order the parties to engage in private mediation. Id. This Court responded that if the scheduled

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date is no longer available, a motion should be filed. Id.

il. ARGUMENT

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This voluntary settlement conference was set pursuant to the parties’ stipulated request in

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accordance with LR II 16-5. Unfortunately, due to the numerous, constantly evolving schedules that

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must be coordinated for this settlement conference to occur, scheduling the settlement conference has

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been a difficult process. Minerva and Leberman remain interested in an early mediation of this case,

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but they are simply unavailable on November 16, 2022.

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Efforts to reschedule the settlement conference without judicial intervention have failed.

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Consequently, Minerva and Leberman are left with no choice but to request that the voluntary

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settlement conference be vacated and the parties be ordered to either: (1) cooperate in good faith to

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reschedule the settlement conference at the earliest date that is mutually convenient for all parties and

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either Magistrate Judge McQuaid or any another Magistrate Judge whose schedule may be more

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aligned with the parties’ availability; or (2) participate in a private mediation, with all parties to

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equally share the costs.
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1}/IV. CONCLUSION
A productive settlement conference cannot occur unless all parties participate. Minerva and

Leberman are not available on November 16, 2022. Minerva and Leberman therefore request that

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voluntary settlement conference be vacated and the parties be ordered to either: (1) cooperate in good

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faith to reschedule the settlement conference at the earliest date that is mutually convenient for all

parties and either Magistrate Judge McQuaid or any another Magistrate Judge whose schedule may

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be more aligned with the parties’ availability; or (2) participate in a private mediation, with all parties
8]| to equally share the costs.

9 The Motion should be granted.

10 DATED this = day of September, 2022.

11 GUNDERSON LAW FIRM

12
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14 Mark H. Gunderson, Esq.

Nevada State Bar No. 2134

15 Austin K. Sweet, Esq.

16 Nevada State Bar No. 11725

Attorneys for Minerva Office Management,
17 Inc. and Robert L. Leberman

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(Case 3:22-cv-00236-ART-CLB Document 26 Filed 09/30/22 Page 8 of 10
1 CERTIFICATE OF SERVICE
2 Pursuant to FRCP 5(b), I certify that I am an employee of the law office of GUNDERSON
3|| LAW FIRM, and on the po day of September, 2022 I electronically filed the MOTION TO
4|| VACATE SETTLEMENT CONFERENCE and a copy will be electronically mailed by the United
5|| States District Court-District of Nevada through CM/ECF to the following:
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and Robert L. Leberman

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10
Pursuant to FRCP 5(b), I further certify that I am an employee of the law office of

11
GUNDERSON LAW FIRM, and on the , ) day of September, 2022, I deposited for mailing in

  

 

i Reno, Nevada a true and correct copy of the foregoing MOTION TO VACATE SETTLEMENT
CONFERENCE, to the following:
14
15 Lisa E. Cleary, Esq.
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28 Kelly Gunderson

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EXHIBIT LIST

Exhibit # Description Pages
Exhibit “1” August 2022 email chain 4
Exhibit “2” August 15 email 1
Exhibit “3” August 2022 email chain 11
Exhibit “4” September 1 email 11
Exhibit “5” Emails from September 1 and 2 13
Exhibit “6” Email chain 17
Exhibit “7” September email chain 3
Exhibit “8” Declaration of Robert Leberman 2
Exhibit “9” September 11, 2022 4
Exhibit “10” Gunderson email on September 11, 2022 3
Exhibit “11” Gunderson email dated September 14, 2022 1
Exhibit “12” Gunderson email dated September 20, 2022 5
Exhibit “13” September 22, 2022, email chain 2

 

 

 

 

 

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